                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )      Case No. DNCW 5:08CR58-2
               vs.                                 )      (Financial Litigation Unit)
                                                   )
AARON MORRIS.                                      )

                                    WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and CALDWELL COUNTY SHERIFF’S OFFICE.:

       A judgment was entered on December 15, 2010, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

Defendant, Aaron Morris, whose last known address is XXXXXXXXXXX, Granite Falls, NC,

28630, in the sum of $625,278.06. The balance on the account as of February 18, 2011, is

$625,128.06.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Prudential is commanded to turn over property in which the Defendant, Aaron Morris, has a

substantial nonexempt interest, the said property being funds located in Prudential accounts

including, but not limited to, any Individual Retirement Accounts (IRAs), in the name of Aaron

Morris, at the following address: Prudential, 30 Scranton Office Park, Scranton, PA 18507-1789.

       SO ORDERED.                             Signed: February 21, 2011




    Case 5:08-cr-00058-RLV-DSC           Document 68       Filed 02/22/11     Page 1 of 1
